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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

GERALD FARMER, POMPEY HICKS, : CIVIL ACTION
and ANTWON WILLIAMS, individually, :
and on behalf of all others similarly :
situated, : NO. 08CV3962
Plaintiffs, : JUDGE AMY J. ST. EVE
: MAGISTRATE JUDGE MARIA VALDEZ

DIRECTSAT USA, LLC, et al.,

Defendants.

 

DEFENDANTS’ MOTION FOR SANCTIONS

Defendants DirectSat USA, LLC (‘“DirectSat”), UniTek USA, LLC (“UniTek”), Jay
Heaberlin, Lloyd Riddle, and Dan Yannantuono (jointly, “Defendants”), by and through their
undersigned counsel, respectfully submit this Motion for Sanctions. In direct violation of this
Court’s Order (Doc. No. 58), Plaintiffs have used discovery obtained from this action in the
preparation and filing of a parallel action that Plaintiffs’ attorney filed in the Circuit Court of
Cook County against all Defendants in this action and asserting substantively similar allegations
and identical claims.' Accordingly, based upon Plaintiffs’ direct violation of this Court’s Order,
this Court must award Defendants sanctions arising from Plaintiffs’ improper and surreptitious
activity.

WHEREFORE, for the reasons more fully set forth in the accompanying Memorandum of

Law, which is incorporated herein by reference, Defendants respectfully request that the Court

 

' On March 17, 2010, Defendants removed this matter to the United States District Court for the Northern District of
Illinois, and the case is currently assigned to the Honorable Joan B. Gottschall. On March 18, 2010, Defendants
filed a Motion pursuant to Local Rule 40.4 to have that case reassigned to this Court.
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grant its Motion, award Defendants’ attorneys’ fees, dismiss the parallel action, and grant such

other relief the Court deems appropriate under the circumstances.

Butler Rubin Saltarelli & Boyd

Elliott Greenleaf & Siedzikowski, P.C.

DATED: March 18, 2010

Respectfully submitted,
/s/ Colin D. Dougherty

Jason S. Dubner (ARDC# 06257055)
Ursula A. Taylor (ARDC # 6287522)
70 West Madison Street, Suite 1800
Chicago, IL 60602

(312) 444-9660

Eric J. Bronstein

Colin D. Dougherty

Union Meeting Corporate Center
925 Harvest Drive, Suite 300
Blue Bell, PA 19422

(215) 977-1000

Attorneys for Defendants
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

GERALD FARMER, POMPEY HICKS, : CIVIL ACTION
and ANTWON WILLIAMS, individually, :
and on behalf of all others similarly
situated, : NO. 08CV3962

Plaintiffs, :

V. : JUDGE AMY J. ST. EVE
: MAGISTRATE JUDGE MARIA VALDEZ

DIRECTSAT USA, LLC, a/k/a UNITEK
USA,

Defendant.

 

DEFENDANTS’ MEMORANDUM OF LAW IN
SUPPORT OF THEIR MOTION FOR SANCTIONS

Defendants DirectSat USA, LLC (“DirectSat”), UniTek USA, LLC (“UniTek”), Jay
Heaberlin, Lloyd Riddle, and Dan Yannantuono (jointly, “Defendants”), by and through their
undersigned counsel, respectfully submit this Memorandum of Law in support of their Motion
for Sanctions.
I. INTRODUCTION

Plaintiffs’ counsel are yet again engaged in subversive behavior that undermines the
authority of this Court. As the Court recalls, during a deposition conducted earlier in this matter,
Plaintiffs’ counsel openly solicited the deponent and, after the deposition, Plaintiffs’ counsel
filed suit against DirectSat on the deponent’s behalf. That action is still pending in this District.
See Hundt v. DirectSat USA, LLC, Docket No. 08-7238 (N.D. Ill.). DirectSat moved this Court
to disqualify Plaintiffs’ counsel based on Plaintiffs’ counsel’s improper solicitation efforts. This

Court sanctioned Plaintiffs’ counsel for their actions, permitted them to remain in this action
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under strict conditions—one of these conditions the Court imposed was that “[n]o discovery in
this case can be used for any purpose other than this case.” * (Doc. No. 58.) Plaintiffs
counsel petitioned this Court petitioned this Court to reconsider this discovery Order. (Doc. No.
92.) In response to Plaintiffs’ petition, and without waiting for a response from Defendants, the
Court denied Plaintiffs’ motion, reaffirming that the aforementioned Order was entered to
“address potential conflicts of interest with regard to Plaintiffs’ counsel and potential prejudice
to Defendant.” (See Doc. No. 95.)

Despite the unequivocal language originally ordered by this Court and confirmed by the
denial of Plaintiffs’ motion to reconsider, Plaintiffs’ counsel has blatantly violated this Order.
On February 1, 2010, Plaintiffs filed a Third Amended Complaint in this action, adding parties
and factual allegations based upon evidence that Plaintiffs concededly learned of during
discovery. By Plaintiffs’ own admission, their counsel could only have learned of certain facts
during discovery in this matter. Indeed, this newly obtained information was Plaintiffs’
Justification for seeking leave to file their Third Amended Complaint. (See Doc. No. 117.)

Just two weeks after this Court granted Plaintiffs’ Motion for Leave to file their Third
Amended Complaint, Plaintiffs filed a new action in Illinois state court that mirrors the Third
Amended Complaint, including, inter alia, the newly learned information from this action.
Additionally, the named Plaintiffs in this new action are currently unnamed putative class
members in this matter. Because the new state court complaint contains information that
Plaintiffs’ counsel admits to receiving during the course of discovery in this matter, the

undeniable fact is that Plaintiffs’ counsel used evidence gained in this action to prepare and file

 

> The Court also ordered Plaintiffs’ counsel to pay Defendants’ attorneys’ fees incurred in connection with filing
their Motion for Disqualification.
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the recent state court complaint. Accordingly, Plaintiffs’ counsel stand in direct violation of this
Court’s March 2, 2009 Order, and this Court must impose sanctions as a consequence.
II. ARGUMENT

A. This Court’s Protective Order

On February 9, 2009, DirectSat, the only Defendant at that time, filed a Motion to
Disqualify Plaintiffs’ counsel based upon Plaintiffs’ counsels’ conflict of interest that arose
because of improper solicitation efforts during a deposition. As this Court knows, this
solicitation later resulted in the filing of a second action against DirectSat USA, LLC. See Hundt
v. DirectSat USA, LLC, Docket No. 08-7238 (N.D. IIl.). While the Court denied Defendants’
Motion and permitted Plaintiffs’ counsel to remain a part of this action, this Court imposed
certain conditions upon Plaintiffs’ counsel. (See Doc. No. 58.) Among other restrictions, this
Court expressly and unambiguously stated that: “No discovery in this case can be used for any
purpose other than this case.” (/d.)

On August 14, 2009, Plaintiffs—perhaps anticipating the problems highlighted by the
instant Motion—filed a Motion for Protective Order to Revise Certain Limitations on Discovery,
in which Plaintiffs moved this Court to lift its discovery restriction. (See Doc. No. 92 (asking
Court to lift restriction because “critical” documents relevant to an unspecified “collateral” case
had been produced by DirectSat).) On August 20, 2009, this Court summarily denied Plaintiffs’
Motion for Protective Order to Revise, stating the aforementioned Order was entered to “‘address
potential conflicts of interest with regard to Plaintiffs’ counsel and potential prejudice to
Defendant.” (See Doc. No. 95.) Thus, the Court’s discovery restrictions have been in place

without interruption since the Court originally entered the Order more than one year ago.
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On December 15, 2009, Plaintiffs filed a Motion for Leave to Amend Their Complaint.
(See Doc. Nos. 117-18.) This Motion sought leave to add numerous parties to the action,
including UniTek and the individual Defendants now parties to this action. Defendants contested
Plaintiffs’ Motion on, infer alia, undue burden and prejudice grounds. (See Doc. No. 121.) In
Plaintiffs’ Reply Brief, Plaintiffs represented the following to the Court in opposition to
Defendants undue burden and prejudice arguments:

Plaintiffs file [sic] their motion immediately after Plaintiffs took the depositions

of several of Defendant’s representatives in December 2009 who confirmed the

corporate structure and relationship of DirectSat and UniTek, and the authority of

the individual Defendants over the practices at issue.
(See Doc. No. 122, at 4.)

The Court accepted this representation, and granted Plaintiffs’ motion in part. (See Doc.
No. 125.) In so doing, this Court credited Plaintiffs’ ““newly-discovered” evidence argument,
reasoning that “newly-discovered information may provide a sufficient reason to join a new
party as a defendant.” (/d. (internal quotation omitted).) The Court permitted Plaintiffs to file
their Third Amended Complaint, which includes factual allegations that Plaintiffs’ counsel admit
derive from discovery that occurred in this matter. Accordingly, pursuant to this Court’s March
3, 2009 Order, Plaintiffs and their counsel are precluded from using such information in any
action other than this action. (Doc No. 58).

B. The Jacks Complaint

On February 9, 2010, approximately two weeks after this Court permitted Plaintiffs to
amend their Complaint in this action, Plaintiffs’ counsel filed yet another action against, inter
alia, DirectSat. (See Ex. A, Complaint in Jacks, et al. v. DirectSat USA, LLC, et al., Docket No.

10-CH-5688.) In that action, however, the plaintiffs’ named as defendants in addition to

DirectSat, the exact Defendants who were recently added in this matter based upon the Motion to
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Amend. As with the Third Amended Complaint here, the plaintiffs in Jacks assert a class action
under Illinois state wage and hour law and individual claims under the Fair Labor Standards Act
(“FLSA”). Indeed, the Jacks plaintiffs raise the exact same claims that are at issue here and rely
on factual allegations that are identical to those at issue before this Court. (/d. at pp.7-10.)
Further, the Jacks Plaintiffs are members of this Class. (See Ex. “B”, a true and correct copy of
the putative class list provided to Plaintiffs.)

Critical for purposes of this Motion, the allegations regarding the relationship between
DirectSat and UniTek and the allegations concerning the authority of the individual
Defendants—factual allegations that Plaintiffs openly admit were gleaned from discovery in this
matter—are included verbatim in the Jacks Complaint. By way of example, the respective
allegations describing UniTek and its relationship to DirectSat read:

Jacks Complaint ¥ 6:

Defendant, UniTek USA, LLC (“UniTek”), is a LLC with places of business in

Cook County, Illinois and headquartered in Blue Bell, Pennsylvania. Among

other things, Defendant UniTek is engaged in the business of satellite installation

throughout the State of Illinois. UniTek is the parent corporation of DirectSat.

Farmer Third Amended Complaint { 10:

Defendant, UniTek USA, LLC (“UniTek”), is a LLC with places of business in

Cook County, Illinois and headquartered in Blue Bell, Pennsylvania. Among

other things, Defendant UniTek is engaged in the business of satellite installation

throughout the State of Illinois. UniTek is the parent corporation of DirectSat.
No such allegations existed regarding UniTek in either of the two prior Complaints in this action.
Similarly, as with the relationship between UniTek and DirectSat, the respective allegations
concerning the individual defendants are also identical. (Compare Ex. A, J7, with 3d Am.

Compl. 12; compare Ex. A, 8, with 3d Am. Compl. 915; compare Ex. A, 99, with 3d Am.

Compl. 416.) Again, no such allegations regarding the individual Defendants existed in either of
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the two prior Complaints in this action. The “Factual Background” section also mirrors the
“Factual Background” section of the Third Amended Complaint. (Compare Ex. A, §§11-20,
with Third Am. Compl. 9918-27.)°

C. Plaintiffs’ Are In Violation Of This Court’s Order

Based on the forgoing, the following undisputable facts are apparent:

1) This Court entered an Order on March 3, 2009, precluding Plaintiffs’ counsel
from using any discovery obtained in this action in any action other than
this action (Doc. No. 58) to “address potential conflicts of interest with
regard to Plaintiffs’ counsel and potential prejudice to Defendant” (Doc. No.
95);

2) When filing their Motion for Leave to File an Amended Complaint, Plaintiffs
represented to Defendants and this Court that the additional allegations and
the inclusion of additional parties was premised on depositions taken in this
action (Doc. No. 122);

3) The Court based, at least in part, its Order granting Plaintiffs’ Motion for
Leave to Amend Complaint to Add Additional Defendants on this
representation;

4) In the recently filed Jacks action, the unnamed putative class members from
this action, through the same counsel in this action, filed claims with
allegations and parties that are identical to those included in the Third
Amended Complaint filed in this action (Compare Ex. “A” with 3d Am.

Compl.); and

 

> For the sake of brevity, Defendants will not reiterate all of the identical allegations contained in the two
Complaints.
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5) Plaintiffs, by their own admission could not have obtained the information
regarding, inter alia, the relationship between UniTek and DirectSat and the
relative authority of the individual Defendants, anywhere other than through
the depositions in this matter.

Accordingly, by essentially copying the allegations from the Third Amended Complaint
here—which include allegations derived from discovery in this matter—Plaintiffs’ counsel
directly violated this Court’s March 2, 2009 Order. This violation, which is the latest in a string
of consistently improper behavior, necessitates the imposition of severe sanctions in this matter.

Plaintiffs’ counsel has shown a willingness to directly solicit clients during depositions
and a willingness to disregard the Order that this Court entered to alleviate the concerns it had
with Plaintiffs’ counsel’s behavior.’ This Court must take appropriate action to remedy the
current violations and to prevent any additional flagrant behavior on the part of Plaintiffs’
counsel. See Chambers v. Nasco, Inc., 501 U.S. 32 (1991) (discussing inherent power to
sanction litigants and upholding attorneys’ fee award).” Moreover, without additional sanctions,
Plaintiffs will be free to continue using discovery obtained in this action to litigate or initiate
other actions against Defendants. Put simply, the harm caused by Plaintiffs’ actions is

irreparable, prejudicial to Defendants, and mandates the imposition of sanctions.

 

* While Defendants do not have direct evidence of solicitation of the Jacks named Plaintiffs, these Plaintiffs are
members of the Farmer Class, and, as such, Defendants counsel forwarded to Plaintiffs’ counsel the contact
information for the individuals who now are named Plaintiffs in Jacks during the course of discovery in this action.
This fact raises a reasonable inference that the Jacks’ Plaintiffs were solicited in some manner to become named
Plaintiffs in Jacks, which further violates this Court’s Order.

* Further, to the extent that this Court construes its March 2, 2009 Order as a “discovery” order, sanctions are proper
pursuant to Rule 37. See Rule 37(b) (providing for sanctions where party violates court’s discovery order).
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Ill. CONCLUSION

For the forgoing reasons, Defendants respectfully request that this Court grant their

Motion and impose sanctions that the Court finds appropriate including, but not limited to, the

imposition of attorneys’ fees and dismissal of the Jacks action.

DATED: March 18, 2010

Respectfully submitted,

/s/ Colin D. Dougherty

Jason S. Dubner (ARDC# 06257055)
Ursula A. Taylor (ARDC # 6287522)
Butler Rubin Saltarelli & Boyd

70 West Madison Street, Suite 1800
Chicago, IL 60602

(312) 444-9660

Eric J. Bronstein

Colin D. Dougherty

Elliott Greenleaf & Siedzikowski, P.C.
Union Meeting Corporate Center

925 Harvest Drive, Suite 300

Blue Bell, PA 19422

(215) 977-1000

Counsel for Defendants
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CERTIFICATE OF SERVICE
I, Colin D. Dougherty, hereby certify that, on this date, I caused the foregoing to be filed
electronically with the Court, where it is available for viewing and downloading from the Court’s
ECF system, and that such electronic filing automatically generates a Notice of Electronic Filing

constituting service of the filed document, upon the following:

Jac A. Cotiguala, Esquire

Jac A. Cotiguala & Associates

431 South Dearborn Street, Suite 606
Chicago, IL 60605

Attorney for Plaintiffs

/s/ Colin D. Dougherty
DATED: March 18, 2010 COLIN D. DOUGHERTY
